
10 N.Y.2d 854 (1961)
In the Matter of the Claim of Dorothy Jessup, Respondent,
v.
Jessup &amp; Stevens Garage et al., Appellants. Workmen's Compensation Board, Respondent.
Court of Appeals of the State of New York.
Submitted October 10, 1961.
Decided October 19, 1961.
Kenneth K. Floyd and Philip J. Caputo for appellants.
Louis J. Lefkowitz, Attorney-General (Harry Rackow, Paxton Blair and Roy Wiedersum of counsel), for Workmen's Compensation Board, respondent.
Concur: Chief Judge DESMOND and Judges DYE, FROESSEL, BURKE and FOSTER. Judges FULD and VAN VOORHIS dissent and vote to reverse and to dismiss the claim on the dissenting memorandum of Justices HERLIHY and REYNOLDS at the Appellate Division.
Order affirmed, with costs to respondent Workmen's Compensation Board; no opinion.
